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Notice of Appeal Criminal Rev. 3/88

United States District Court for the District of Columbia

UNITED STATES OF AMERICA )
)
VS. ) Criminal No. _1:23-cr-343
)
Charles Edward Littlejohn )
NOTICE OF APPEAL
Name and address of appellant: Charles Edward Littlejohn

[See Presentence Report]

Name and address of appellant’s attorney: Lisa Manning
Schertler, Onorato, Mead & Sears, LLP
555 13th Street, N.W., Suite 500 West
Washington, DC 20004

Offense: Disclosure of Tax Return Information, 26 USC 7213(a)(1)

Concise statement of judgment or order, giving date, and any sentence:

Judgment entered February 9, 2024: sixty (60) months imprisonment, followed by 36
months of supervised release (including 300 hours of community service); fine $5,000
and $100 Assessment.

Name and institution where now confined, if not on bail:

I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.

2/4 [2024 ects title

DATE : APPELLANT
ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE
CJA, NO FEE ¥
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal? yes|_| NO
Has counsel ordered transcripts? ves| ¥] NO [|

Is this appeal pursuant to the 1984 Sentencing Reform Act? yes|y¥| NO [|
